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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                       Petitioner,

                       v.                                         No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                       Respondent.




                PETITIONER’S NOTICE TO THE COURT CONCERNING
                   PETITIONER’S PREVIOUS NOTICE, ECF NO. 68

       On February 15, 2018, Petitioner filed a Notice to the Court Concerning Respondent’s

Sealed Filing (ECF No. 65), informing the Court that Petitioner’s counsel would not read

Respondent’s sealed filing in order to continue to freely engage in representing Petitioner based

on information Petitioner’s counsel obtained independently of, and possessed previous to, the

government filing. ECF No. 68. Petitioner also informed the Court that if at some future time,

Petitioner’s counsel intended to read ECF No. 65, Petitioner’s counsel would file a notice

informing the Court and the government. Id.

       Petitioner’s counsel hereby respectfully give notice that, without prejudice to their ability

to represent Petitioner based on and using information counsel obtained independently of, and

possessed previous to, the government’s sealed filing, counsel will read the sealed filing as issues

addressed in it are now pending in the Court of Appeals.
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Dated: February 27, 2018                      Respectfully submitted,

                                               /s/ Jonathan Hafetz_____________________
Arthur B. Spitzer (D.C. Bar No. 235960)       Jonathan Hafetz (D.C. Bar No. NY0251)
American Civil Liberties Union                Brett Max Kaufman (D.C. Bar No. NY0224)
  of the District of Columbia                 Hina Shamsi (D.C. Bar No. MI0071)
915 15th Street, NW, 2nd Floor                Dror Ladin (pro hac vice)
Washington, DC 20005                          Anna Diakun
Tel: 202-457-0800                             American Civil Liberties Union Foundation
Fax: 202-457-0805                             125 Broad Street—18th Floor
aspitzer@acludc.org                           New York, New York 10004
                                              Tel: 212-549-2500
                                              Fax: 212-549-2654
                                              jhafetz@aclu.org
                                              bkaufman@aclu.org
                                              hshamsi@aclu.org
                                              dladin@aclu.org
                                              adiakun@aclu.org
Counsel for Petitioner




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